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 4
                        UNITED STATES DISTRICT COURT
 5
                       EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,         ) CASE NO. 1:07-CR-21 AWI
                                       )
 8              Plaintiffs,            ) STIPULATION AND ORDER
                                       ) TO CONTINUE SENTENCING
 9   vs.                               ) HEARING
                                       )
10                                     )
     FELIPE SERRANO-SALAZAR,           )
11                                     )
                Defendants.            )
12                                     )
13
           The following stipulation was filed:
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15
           IT IS HEREBY STIPULATED by and between defendant FELIPE
16
     SERRANO-SALAZAR, through his attorney, ROBERT L. FORKNER,
17
     and plaintiff United States of America, through its counsel
18
     of record, Assistant United States Attorney DAWRENCE W.
19
     RICE, JR., stipulate and agree to the following:
20
           1.   The presently scheduled sentencing hearing date of
21
     February 25, 2008, at 9:00 a.m., shall be vacated for the
22
     defendant and be rescheduled for further sentencing hearing
23
     on March 17, 2008 at 9:00 a.m.
24
25
     DATED: FEBRUARY 21, 2008           /s/ ROBERT L. FORKNER
26                                     Attorney for Defendant
                                       FELIPE SERRANO-SALAZAR
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28                                        1
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 1
     DATED: FEBRUARY 21, 2008             /S/ DAWRENCE W. RICE, JR.
 2                                       Assistant US Attorney
                                         DAWRENCE W. RICE, JR.
 3
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 6
                                         ORDER
 7
 8        As per the stipulation, IT IS SO ORDERED that the
 9   February 25, 2008 at 9:00 a.m., sentencing hearing be
10   vacated and continued to March 17, at 9:00 a.m., for the
11   defendant FELIPE SERRANO-SALAZAR.
12
13   IT IS SO ORDERED.
14   Dated:   February 21, 2008               /s/ Anthony W. Ishii
     0m8i78                             UNITED STATES DISTRICT JUDGE
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